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                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF MAINE


UNITED STATES OF AMERICA,                      )
                                               )
                                               )
                                               )
v.                                             )      CRIMINAL NO. 09-200-P-H
                                               )
DAHABO OSMAN,                                  )
                                               )
                       DEFENDANT               )


             ORDER ON DEFENDANT’S MOTION FOR RELIEF
        FROM PREJUDICIAL JOINDER OF COUNTS AND DEFENDANTS


       The defendant Dahabo Osman is charged with co-defendant Ahmed

Guled in a twenty-three count Indictment. Indictment (Docket Item 3). She

moves to sever counts and defendants for improper joinder under Rule 8 and to

obtain relief from prejudicial joinder under Rule 14. She wants me to divide

the Indictment into three “sets” of counts for trial: (1) Counts 1-6 involving

both defendants (she characterizes it as fraud involving health care benefits

from MaineCare 1 ); (2) Counts 9-11, 16-17, and 22-23, involving her alone (she

says failing to disclose income in order to qualify for government benefits); and

(3) Counts 7-8, 12-15, and 18-21, involving Guled alone (she says failing to

disclose income and assets in order to qualify for government benefits). The

time period covered by the criminal charges in the Indictment is 2006 to 2009.

The motion is DENIED.

1 MaineCare, formerly Medicaid, is a joint federal-state program, which provides medical assistance to
people with limited resources.
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                               IMPROPER JOINDER

      Osman’s argument is that Rule 8(b) “does not allow for the joinder of

defendants when the counts respective to each defendant are unrelated.”

Defendant’s Motion for Relief from Prejudicial Joinder of Counts and

Defendants at 8 (Docket Item 23).    But the Indictment charges Osman and

Guled jointly with both health care fraud (Count 2) and conspiracy to commit

health care fraud (Count 1). Rule 8(b) explicitly allows joinder of two or more

defendants “if they are alleged to have participated in the same act or

transaction . . . constituting an offense or offenses.”   Fed. R. Crim. P. 8(b).

Clearly, then, joinder is proper on Counts 1 and 2, and Osman concedes that

joinder is also proper as to Counts 3-6 which, she says, “concern conduct

related in substance and form to the allegations contained in Counts 1 and 2.”

Defendant’s Motion for Relief from Prejudicial Joinder of Counts and

Defendants at 2. Moreover, Rule 8 allows joinder not only of defendants, but

also of offenses when they “are of the same or similar character, or are based

on the same act or transaction.” Fed. R. Crim P. 8(a). That condition applies

here, where all the counts involve fraud against various federal programs to

obtain benefits during the period 2006 through 2009. Thus, given the fraud

charges against Osman in Counts 1 and 2, it is proper under Rule 8(a) to join

the other charges against Osman individually.      And since Guled is already

properly joined in Counts 1-6, it is also proper under Rule 8 to join the other

charges against him individually.   See Fed. R. Crim. P. 8(b) (“All defendants

need not be charged in each count.”).   Moreover, the fraud alleged in Counts

1-6 generated income and assets that are the basis for the government benefit
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fraud charges in the rest of the Indictment, and/or show through Osman’s

activities that she was not disabled at a time when she claimed Social Security

disability benefits. Rule 8(a) is “’generously construed in favor of joinder’” and

“’similar’ does not mean ‘identical.’” United States v. Melendez, 301 F.3d 27, 35

(1st Cir. 2002) (quoting United States v. Randazzo, 80 F.3d 623, 627 (1st Cir.

1996) and United States v. Edgar, 82 F.3d 499, 503 (1st Cir. 1996)).             I

conclude that joinder here is proper.

                        RELIEF FROM PREJUDICIAL JOINDER

      The real issue is whether the joinder is prejudicial under Rule 14.     See

Fed. R. Crim. P. 14. On that issue, Osman argues that I must sever the first

group of counts, and that failure to sever them “will impermissibly suggest

propensity to commit the fraud alleged in the other counts, and it will violate

the defendant’s Fifth Amendment Rights.” Defendant’s Motion for Relief from

Prejudicial Joinder of Counts and Defendants at 3. I deal with the “propensity”

argument first.

      Osman argues that the first six counts involve “a relatively sophisticated

plan” of joint behavior between the two defendants, unlike the remaining

“relatively simple conduct” behind the rest of the fraud counts.      She argues

that jurors learning of the “relatively involved conspiratorial acts of deception”

in the first six counts will conclude that she “would be more likely to commit

the far more simpler [sic] acts of fraud” alleged in the other counts, which she

believes is a forbidden “strong implication of propensity.” Defendant’s Motion

for Relief from Prejudicial Joinder of Counts and Defendants at 5.


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      The First Circuit requires a “strong and convincing showing of prejudice”

for such an argument to succeed, United States v. Richardson, 515 F.3d 74, 81

(1st Cir. 2008)(citations omitted), pointing out that “[s]ome prejudice results in

almost every trial in which the court tries more than one offense together,” and

that “[g]arden variety prejudice . . . will not, in and of itself, warrant severance.”

Id.   I conclude that Osman’s argument here involves only garden variety

prejudice.   See United States v. Boulanger, 444 F.3d 76, 88 (1st Cir. 2006)

(quoting United States v. Taylor, 54 F.3d 967, 974 (1st Cir. 1995)). Trial judges

regularly ask juries to consider the evidence on each count separately, and

juries regularly do so, producing verdicts that vary count by count. It is not at

all apparent that jurors would conclude that a defendant who engages in

sophisticated deception necessarily would engage in simple deception. Indeed

the contrary hypothesis seems equally likely. Here, moreover, even if I severed

the first six counts, it is likely that the evidence of fraud in those counts would

appear in a trial on the other counts, because that conduct is the source of the

income that Osman failed to report in the other counts, and the government

could use the fraud in support of its case that she intentionally failed to report

it.

      Osman’s Fifth Amendment argument is that she would like to testify on

Counts 1 and 2, but not on the other counts, where her testimony is likely to

be incriminating, and that if the counts are not severed, she will have to forego

her right to testify. Specifically, she says:


      The basic theory of Ms. Osman’s defense with regard to [the first group,
      involving joint activity] will, obviously, be that the Government has failed
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      to carry its burden of demonstrating, beyond a reasonable doubt, that
      she knowingly engaged in the relatively elaborate conduct alleged therein
      with the intent to defraud. In order to establish this defense it will be
      necessary for Ms. Osman to testify concerning what she did and did not
      do, and what she reasonably did or did not believe.

      . . . . Due to the fairly simple nature of the conduct alleged in the counts
      of Set 2 [Counts 9-11, 16-17, 22-23, charging Osman with “failing to
      disclose income in order to qualify for certain government benefits,”
      according to the defendant, Defendant’s Motion for Relief from Prejudicial
      Joinder of Counts and Defendants at 2], if Ms. Osman testifies with
      regard to those counts she will likely incriminate herself. In fact, Ms.
      Osman’s testimony may make it easier for the Government to carry its
      burden with regard to the counts of Set 2. Consequently, it is not
      presently Ms. Osman’s intent to testify with regard to the counts of Set 2.

Defendant’s Motion for Relief from Prejudicial Joinder of Counts and

Defendants at 5-6.

      The First Circuit requires “a convincing showing that [Osman] has both

important testimony to give concerning one count and strong need to refrain

from testifying on the other.” Richardson, 515 F.3d at 81 (internal quotations

omitted). Here, it is unclear how Osman’s testimony is important on the first

two Counts and how it will explain the fact that she made false statements

about her co-defendant’s need for services, submitted false timesheets, and

turned over her wages to her co-defendant.          Since Osman has not provided

that showing, I cannot evaluate the significance of her claimed dilemma. She

has not provided the information I need “to weigh ‘the considerations of judicial

economy’ against the defendant’s ‘freedom to choose whether to testify.’”

United States v. Jordan, 112 F.3d 14, 17 n.2 (1st Cir. 1997) (quoting United

States v. Alosa, 14 F.3d 693, 695 (1st Cir. 1994)(citations omitted)). Thus, this

is a case like Alosa, where the court found that the defendant did not make the

case for severance because he vaguely described testimony he would give as a

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defense to one set of counts and wanted not “to help [the government] close

[the] gap” by incriminating testimony on the other charges, if he were cross-

examined.    Alosa, 14 F.3d at 695. “The Fifth Amendment protects the

defendant’s right to choose whether to testify.   It does not assure that the

testimony will only benefit the defendant,” and “the case law is less protective

of a defendant’s right to testify selectively, addressing some issues while

withholding testimony on others that are related.” Id. at 696, 695. Nor is this

a case like Jordan where a very specific proffer was made that went to a central

element of the charged tax offense, information that only the defendant

through his testimony could provide, while taking the stand would result in

self-incrimination on fraud charges. See Jordan, 112 F.3d at 17-18. Osman

has not provided the detail to establish either that her testimony is important

on Counts 1 and 2 or that she strongly needs not to testify on the remaining

counts.

      Finally, Osman argues that severance is required “to avoid exposing the

jury to evidence which would otherwise be inadmissible in separate trials.”

Defendant’s Motion for Relief from Prejudicial Joinder of Counts and

Defendants at 7.    I am not sure that this argument is different from the

propensity argument I have already considered, but since the defendant

addresses it as a Rule 404(b) argument, I will do so as well. As the government

argues, evidence of her fraudulently obtained income (Counts 1 and 2) would

indeed be admissible on the other fraud charges that she illegally obtained

government benefits while receiving that income or illegally claimed to be

disabled when she was able to work.      Likewise, on the health care benefits
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fraud charges (Counts 1 and 2), Osman’s failure to report income to the

various federal agencies as charged in the other counts would be admissible on

her intent and knowledge concerning whether her income was illicit.      And as

for any evidence of fraud on the part of co-defendant Guled, it can be dealt with

by jury instructions. This type of “prejudicial spillover cannot succeed unless

‘a defendant . . . prove[s] prejudice so pervasive that a miscarriage of justice

looms.’”   United States v. Trainor, 477 F.3d 24, 36 (1st Cir. 2007) (quoting

United States v. Levy-Cordero, 67 F.3d 1002, 1008 (1st Cir. 1995)). That is not

the case here.

      The motion for severance is DENIED.

      SO ORDERED.

      DATED THIS 23RD DAY OF MARCH, 2010


                                            /s/ D. Brock Hornby
                                            D. BROCK HORNBY
                                            UNITED STATES DISTRICT JUDGE




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